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@JS 44 (Rev. 11/04)

by local rules of court. This form, approved by the Judicial Conference of the United
(SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided

tates in September 1974, is required for the use of t

e Clerk of Court for the purpose of initiating

I. (a)

PLAINTIFFS
PHILADELPHIA CONSOLIDATED HOLDING CORP.,

PHILADELPHIA INSURANCE COMPANIES

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

d/b/a

State of Pennsylvan

(c) Attorney’s (Firm Name, Address, and Telephone Number)

Steven H. Schwartz,
1010 Market Street,
421-3400

Brown & James,
20th Floor,

P.C.,
St.

Louis,

MO 63101 (314)

DEFENDANTS

Attomeys (If Known)

LSI-LOWERY SYSTEMS,

County of Residence of First Listed Defendant

INC.,

6et al..

State of Missouri

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.

II. BASIS OF JURISDICTION

(Place an “X” in One Box Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
o1 U.S. Government (13 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O 1 ®& 1 Incorporated or Principal Place o4 04
of Business In This State
O2 US. Government 8&4 Diversity Citizen of Another State @ 2 © 2 Incorporated and Principal Place go5 05
Defendant (indicate Citizenship of Parties in Item III) efiusinesstlaiaicticaS ate
Citizen or Subject of a O3 O 3 Foreign Nation go6 06
Foreign Country
IV. NATURE OF SUIT (Place an "x" in One Box Only)
oneness ne a a rarrTe s
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
G 110 Insurance PERSONAL INJURY PERSONAL INJURY | 610 Agriculture C1 422 Appeal 28 USC 158 1 400 State Reapportionment
C1 120 Marine 0 310 Airplane 1 362 Personal Injury - 1 620 Other Food & Drug 01 423 Withdrawal O 410 Antitrust
C130 Miller Act C1 315 Airplane Product Med. Malpractice C1 625 Drug Related Seizure 28 USC 157 1 430 Banks and Banking
OC 140 Negotiable Instrument Liability C1 365 Personal Injury - of Property 21 USC 881 01 450 Commerce
C1 150 Recovery of Overpayment |] 320 Assault, Libel & Product Liability 1 630 Liquor Laws [PROPERTY RIGHTS 1 460 Deportation
& Enforcement of Judgment Slander (1 368 Asbestos Personal |) 640R.R. & Truck C1 820 Copyrights © 470 Racketeer Influenced and
0 151 Medicare Act 1 330 Federal Employers’ Injury Product C1 650 Airline Regs. CO 830 Patent Corrupt Organizations
0 152 Recovery of Defaulted Liability Liability 0 660 Occupational C1 840 Trademark 1 480 Consumer Credit
Student Loans C1 340 Marine PERSONAL PROPERTY Safety/Health 1 490 Cable/Sat TV
(Excl. Veterans) C1 345 Marine Product 1 370 Other Fraud C690 Other © 810 Selective Service
CO 153 Recovery of Overpayment Liability 1 371 Truth in Lending SOCIAL SECURIT (1 850 Securities/Commodities/
of Veteran’s Benefits © 350 Motor Vehicle 1 380 Other Personal 0) 710 Fair Labor Standards 0 861 HIA (1395fH Exchange
0 160 Stockholders’ Suits C1 355 Motor Vehicle Property Damage Act (J 862 Black Lung (923) 1 875 Customer Challenge
O 190 Other Contract Product Liability 1 385 Property Damage O 720 Labor/Mgmt. Relations | 863 DIWC/DIWW (405(g)) 12 USC 3410
© 195 Contract Product Liability | 360 Other Personal Product Liability (1 730 Labor/Mgmt.Reporting | 864 SSID Title XVI (1 890 Other Statutory Actions
G 196 Franchise _ Injury _| & Disclosure Act C1 865 RSI (405(g) CO 891 Agricultural Acts
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _| 0 740 Railway Labor Act FEDERAL TAX SUITS (© 892 Economic Stabilization Act
© 210 Land Condemnation O1 441 Voting CI 510 Motions to Vacate | 790 Other Labor Litigation | (1 870 Taxes (U.S. Plaintiff 1 893 Environmental Matters
C1 220 Foreclosure 1 442 Employment Sentence QO 791 Erppl. Ret. Inc. or Defendant) 1 894 Energy Allocation Act
C1 230 Rent Lease & Ejectment O1 443 Housing/ Habeas Corpus: Security Act 0 871 IRS—Third Party (1 895 Freedom of Information
C1 240 Torts to Land Accommodations O 530 General 26 USC 7609 Act
CG 245 Tort Product Liability OO 444 Welfare 0 535 Death Penalty C1 900Appeal of Fee Determination
C1 290 All Other Real Property C1 445 Amer. w/Disabilities - | 540 Mandamus & Other Under Equal Access
Employment 0 550 Civil Rights to Justice
OC 446 Amer, w/Disabilities - ] 555 Prison Condition 1 950 Constitutionality of
Other State Statutes
(1 440 Other Civil Rights
V. ORIGIN (Place an “X” in One Box Only) Appeal to District
] . o2 3 o4,.. oO 5 Transferred from 6 a o7 Judge from
Original Removed from Remanded from Reinstated or another district Multidistrict Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment

VI. CAUSE OF ACTION

29 U.S.C.

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
1332

Brief description of cause:
Declaratory judgment to determine rights and obligations under an insurance policy.

VIL REQUESTED IN

LJ CHECK IF THIS IS A CLASS ACTION

DEMAND $ 1 900,000.00

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER F.R.CP. 23 JURY DEMAND: Yes (No
VIII. RELATED CASE(S) a oo.
IF ANY (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
ols /i2, at
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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JS 44 Reverse (Rev. 11/04)
INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint
filed. The attorney filing a case should complete the form as follows:

IL (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving
both name and title.

(b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time
of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases,
the county of residence of the “defendant” is the location of the tract of land involved.)

(c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.

ll. Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C.P., which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)

Ill, _ Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV. Nature of Suit. Place an “X” in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select
the most definitive.

V. Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box
is checked, do not check (5) above.

Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.

VI. Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes

unless diversity. Example: US. Civil Statute: 47 USC 553 . .
Brief Description: Unauthorized reception of cable service

VII. Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VILL. Related Cases. This section of the JS 44 is used to reference related pending cases if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
